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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA

 TAVIA WAGNER,                          )
                                        )
       Plaintiff,                       )
                                        )
 v.                                     )
                                        )
 HELKIM REALTY, LLC and                 )   Case No. 6:21-cv-01029-PGB-EJK
 PIZZA POMODORO NSB, LLC,               )
 d/b/a                                  )
 PIZZA POMODORO                         )
                                        )
       Defendants.



                      JOINT NOTICE OF SETTLEMENT

      Plaintiff, TAVIA WAGNER, (“Plaintiff”) and Defendants, HELKIM

REALTY, LLC and PIZZA POMODORO, (“Defendanst”) by and through their

undersigned counsel, respectively, hereby file this Joint Notice of Settlement and

advises this Court that the Parties have fully resolved this dispute and are in the

process of preparing and finalizing the necessary documents for final disposition

of this matter.



      DATED this 3rd day of September, 2021.
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                                        Respectfully submitted,

/s/ Jesse I. Unruh                       By: /s/Joe M. Quick, Esq.
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Attorneys for Defendants                 Attorney for Plaintiff



                            CERTIFICATE OF SERVICE


         I hereby Certify that on this 3rd day of September, 2021., the foregoing was

electronically filed with the Court by using the Middle District of Florida CM/ECF

portal, which will send a notice of electronic filing to: Joe Quick, Esq. at

JMQuickEsq@gmail.com, at 1224 S. Peninsula Dr #619, Daytona Beach, Florida

32118.


                                               /s/ Jesse I. Unruh
                                               Attorney




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